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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR07-276-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   DEREK LINDSTROM,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:         Pharmacy Robbery

15 Date of Detention Hearing:      August 15, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been indicted on a charge of Pharmacy Robbery. The AUSA

22 proffers that the offense is alleged to involve the daytime robbery of a Rite-Aid store by defendant

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01 and co-defendants, during which this defendant carried and showed a firearm. According to case

02 agents, the defendant was arrested at his mother’s house. It allegedly took defendant and his co-

03 defendants approximately 30 minutes to surrender to law enforcement officials. The search

04 warrant executed on the premises revealed one pellet gun, one loaded .25 Caliber Semi-Automatic

05 firearm, and 1,600 Oxycotin pills.

06          2.       Defendant’s criminal history includes an outstanding felony warrant for charges

07 pending in Skagit county that originated in 2002 but were filed in 2006. The warrant was issued

08 for failure to appear at a court appearance. Defendant’s criminal history includes numerous failures

09 to appear for court hearings and failures to comply with probation. A condition of a sentenced

10 imposed in a minor in possession charge in San Juan county was that he have no contact with

11 Randon Gilfillan, a co-defendant in this case.

12          3.       The defendant is associated with two social security numbers. He does not have

13 a stable residence or employment history.

14          4.       The defendant poses a risk of nonappearance due to lack of stable residence and

15 employment, a significant history of failing to appear, including failure to report to serve jail terms;

16 a history of failing to comply with court orders, outstanding misdemeanor and felony warrants,

17 a pending felony case, and a history of controlled substance use. The defendant poses a risk of

18 danger due to the nature of the instant offense, a pending felony case and the nature of those

19 charges, the alleged use of illegal controlled substances, a history of failing to comply with court

20 orders and criminal history.

21          5.       There does not appear to be any condition or combination of conditions that will

22 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

     DETENTION ORDER                                                                               15.13
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01 to other persons or the community.

02 It is therefore ORDERED:

03         (1)    Defendant shall be detained pending trial and committed to the custody of the

04                Attorney General for confinement in a correction facility separate, to the extent

05                practicable, from persons awaiting or serving sentences or being held in custody

06                pending appeal;

07         (2)    Defendant shall be afforded reasonable opportunity for private consultation with

08                counsel;

09         (3)    On order of a court of the United States or on request of an attorney for the

10                Government, the person in charge of the corrections facility in which defendant is

11                confined shall deliver the defendant to a United States Marshal for the purpose of

12                an appearance in connection with a court proceeding; and

13         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

14                counsel for the defendant, to the United States Marshal, and to the United States

15                Pretrial Services Officer.

16         DATED this 15th day of August, 2007.



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18                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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